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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

    KEY HARBOR, LLC,


        v.
                                                                   Civil Action No.: CCB-21-2397
    RANDOLPH BENNETT, et al.


                                      MEMORANDUM AND ORDER

                                             *******************

             Now pending is a motion to dismiss the amended complaint in this case involving unpaid

fees for the storage of two wooden boats at a facility leased by the plaintiff Key Harbor, LLC,

d/b/a Jaws Marine. As evidenced by affidavit and exhibits, Key Harbor leases the property at 6100

Chemical Road, Baltimore, Maryland, from the owner Harbor Nest, LLC. (EFC 33-2, Palacorolla

Aff. ¶¶ 1-2; ECF 33-4, Lease of 6100 Chemical Road).1 The property includes a riparian rights

area with a sunken barge reached by a gangplank. The defendant Randolph Bennett agreed to pay

for storage of the two boats but has failed to do so. (ECF 16-2, Boat Storage Agreement; ECF 16-

3, Invoice).

             At this motion to dismiss stage, where both sides have submitted documents but the court

does not resolve credibility disputes, the plaintiff clearly has shown a basis for this case to proceed,

and indeed a likelihood it will prevail. Bennett does not deny entering the contract and offers only

speculation that Key Harbor does not have rights to the area where his boats are stored.

             Accordingly, the motion to dismiss (ECF 29) is Denied. The court strongly urges the parties

to mediate this dispute. In the alternative, a schedule will be put in place for any additional

discovery, evidentiary hearing, or trial that may be necessary to resolve this case.


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    The lease was signed in 2009 and automatically renews annually. (ECF 33-4).
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A status report from counsel is due no later than July 15, 2022.

So Ordered this 30th day of June, 2022.



                                                   /S/
                                              Catherine C. Blake
                                              United States District Judge




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